       Case 1:10-cr-00184-WMS         Document 293        Filed 09/09/11      Page 1 of 16




 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,


                                                                      Hon. Hugh B. Scott
                               v.
                                                                           10CR184S


                                                                             Order
 ANTONIO BRIGGS, et al.,

                                Defendants.


        This matter is referred to the undersigned to hear and determine pretrial matters pursuant

to 28 U.S.C. 636 (b)(1)(A) and, pursuant to 28 U.S.C. 636(b)(1)(B), to submit proposed findings

of fact and recommendations for the disposition of any motion excepted by 28 U.S.C.

636(b)(1)(A) (Docket No. 3).

        Before this Court are defendants’ omnibus discovery motions (Docket No. 225 (Ard and

other defendants’ joint motion1); Docket Nos. 217 (Cruz), 220 (Beasley), 223 (Dolly), 224

(Hawkins), 227 (Bobby Spencer), 230 (joinder motion of defendant Ainsworth), 232 (joinder

motion of Beasley), and 233 (joinder motion of defendant Barton)), as well as motions filed

under previous iterations of the Indictment (Docket Nos. 122 (Ard), 117 (Torano Spencer), 107

(Cruz), 106 (Ainsworth), 123 (White), 138 (Walker), 189 (Beasley)), following defendants’

motion to bifurcate pretrial motions and to extend time to file further motions (Docket No. 122),

which was granted on May 13, 2011 (Docket No. 215). That Order set a further schedule for



   1
   Joining Ard are Briggs, Torano Spencer, Cruz, McTigue, Dolly, Sidebottom, Johnson, and
Walker, Docket No. 225.
      Case 1:10-cr-00184-WMS            Document 293        Filed 09/09/11       Page 2 of 16




filing discovery motions, including motions regarding the manner of the Government’s

disclosure of electronically stored information and surveillance information raised in the motion

to bifurcate. Defendants filed their moving papers (Docket No. 226) and replies (Docket

Nos. 259, 260-61, 263 (motions joining in Ard movants’ reply)), and the Government responded

(Docket Nos. 253, 269). The Government also moved for reciprocal discovery (Docket No. 253,

Gov’t Response at 51). The motions were argued on August 12, 2011, and deemed submitted as

of that date.

        This Court enters two Orders on these motions. One Order (Docket No. 291) considers

the means by which this discovery, particularly production of the electronically stored

information, is to be conducted. The present Order considers the substantive issues of whether,

and to what degree, the parties are to produce under the ordinary rules, statutes, and caselaw for

criminal discovery pertinent to this case. In particular, these motions seek the following relief:

discovery; production under Brady; disclosure under Federal Rules of Evidence 404(b), 608, 609,

803(24), and 807; production of impeachment information; preservation of rough notes; service

of Bills of Particulars; furnishing a list of witnesses; expert witness disclosure; production of

Jencks Act materials and the timing of that production relative to the trial date; disclosure of

Grand Jury minutes; identifying informants; search of the Government agents’ personnel files;

production of statements of co-conspirators; voir dire of Government’s experts.

        Some of these motions (voir dire of Government experts, exclusion of non-testifying co-

conspirator statements, and motions for severance) are best dealt with by Chief Judge Skretny,

the judge with plenary jurisdiction over this case and thus are deferred for the District Judge’s

consideration. This is despite defense arguments that they had not focused on these non-


                                                  2
      Case 1:10-cr-00184-WMS           Document 293         Filed 09/09/11      Page 3 of 16




discovery forms of relief in this round of motion practice (see Docket No. 259, Defs. Reply at 22-

23). Also motions to suppress various forms of evidence (electronic surveillance material,

defendants’ statements) (see Docket No. 189) will be considered in a separate Report &

Recommendation. For convenience and given the joinder of defendants (including those who

have subsequently plead guilty), individual defendants will not be noted for each relief sought.

                                         BACKGROUND

       Defendants are charged with conspiracy to distribute cocaine and cocaine mixture, and

with the use of interstate communication facilities to commit a drug felony (Docket No. 202, 3rd

Superseding Indict., Counts 1, 2-23). Defendant Will Johnson is also charged with multiple

counts of money laundering and engaging in unlawful monetary transactions (id., Counts 26-30).

                                          DISCUSSION

I.     Discovery

       Defendants first seek various items of pretrial discovery. The manner of the production

of some of this material is addressed in a separate Order. Although there is no general

constitutional right to pretrial discovery in a federal criminal case, a defendant does have a

pretrial discovery right with respect to certain matters. For example, under the Fifth

Amendment’s due process clause, a defendant is entitled to specific exculpatory evidence which

is material either to guilt or punishment. In addition, the government has certain disclosure

obligations under Rule 16 of the Federal Rules of Criminal Procedure and the Jencks Act,

18 U.S.C. § 3500.




                                                  3
       Case 1:10-cr-00184-WMS          Document 293         Filed 09/09/11      Page 4 of 16




        A.     Defendants’ Own Statements

        Pursuant to Rule 16(a)(1)(A) and (B), defendants seek any written or oral statements

made by the defendants which are within the possession custody or control of the Government, or

which through the exercise of due diligence, may become known to the Government.

        Rule 16(a)(1)(A) and (B) provide that, upon request, the Government must disclose any

written or recorded statements made by a defendant, before or after arrest, in response to

interrogation by any person known to the defendant to be a government agent; and recorded

testimony of the defendant before the Grand Jury which relates to the offense charged.2 Failure

of the Government to disclose a defendant’s statements to a Government agent may rise to the

level of constitutional due process violation, Clewis v. Texas, 386 U.S. 707 (1967).

        In this case, the Government has represented that it believes that it has already disclosed

all statements made by the defendants, but will not produce statements of uncharged co-

conspirators since that request goes beyond the scope of Rule 16(a)(1) (Docket No. 253, Gov’t

Response at 4, 5). To the extent that the Government has not yet done so, pursuant to Rule 16

(a)(1)(A) and (B), the Government is hereby directed to produce all such statements made by

the defendants.

        B.     Documents and Tangible Objects

        Pursuant to Rule 16(a)(1)(E), defendants also seek production of various documents,

books, records, photographs, and other tangible objects in the possession, custody or control of




   2
    Rule 16(a)(2) expressly provides that subdivision (a)(1) does not authorize disclosure of
statements made by Government witnesses or prospective Government witnesses except as
provided in 18 U.S.C. § 3500, the Jencks Act.

                                                  4
      Case 1:10-cr-00184-WMS           Document 293        Filed 09/09/11      Page 5 of 16




the government. Defendants identify several specific categories of items which they seek to be

produced.

       The Government’s response to these specific requests is that the search warrant return,

photographs, and reports have been produced in voluntary discovery (Docket No. 253, Gov’t

Response at 12).

       C.       Examinations and Test Reports

       Pursuant to Rule 16(a)(1)(F), defendants next have requested the production of the results

of any physical or mental examinations or scientific tests, including but not limited to any such

tests regarding the cocaine or firearms referenced in the Indictment. The Government has

responded that these reports were (and continue to be) produced in voluntary discovery (Docket

No. 253, Gov’t Response at 8; Docket No. 269, Gov’t Atty. Aff. ¶ 2, Ex. A).

       The Court assumes that the Government’s production has satisfied the defendants’

requests in this regard.

       D.      Rule 12(b)(4) Request

       Pursuant to Rule 12(b)(4), defendants request that the Government give notice of its

intention to use at trial any evidence which is discoverable under Rule 16. Such notice, under the

rules, avoids the necessity of a defendant having to move to suppress evidence which the

government does not intend to use. The Government claims that it has provided notice to

defendants (Docket No. 253, Gov’t Response at 12). This request is deemed moot.

II.    Brady Material

       Defendants next have requested that the Government disclose all materials potentially

favorable to the defendant, including information to be used for the impeachment of the


                                                 5
       Case 1:10-cr-00184-WMS           Document 293         Filed 09/09/11      Page 6 of 16




Government’s witnesses, as required under Brady v. Maryland, 373 U.S. 83 (1963), and its

progeny. Brady material, as those cases have come to define it, includes all evidence which may

be favorable to the defendant and material to the issue of guilt or punishment. Such evidence

includes “[a]ny and all records and/or information which might be helpful or useful to the

defense in impeaching . . . [and] [a]ny and all records and information revealing prior misconduct

. . . attributed to the [Government’s] witness.” United States v. Kiszewski, 877 F.2d 210 (2d Cir.

1989).

         Defense motions identify numerous specific categories of documents encompassing both

exculpatory and impeachment Brady materials which he seeks to obtain. The Government’s

response is that it believes that it has and agrees to continue to comply with its obligations to

provide potentially exculpatory information to defendants (Docket No. 253, Gov’t Response at

27).

         This Court believes that fundamental fairness and the constitutional due process

requirements which underlie Brady mandate that the Court have some discretion with respect to

the timing of the disclosure of such information, even if it may be considered combined

Brady/Jencks material. Indeed, even with respect to purely Jencks Act materials, the Second

Circuit has stated that “pre-trial disclosure will redound to the benefit of all parties, counsel and

the court, . . . sound trial management would seem to dictate that Jencks Act material should be

submitted prior to trial . . . so that those abhorrent lengthy pauses at trial to examine documents

can be avoided,” United States v. Percevault, 490 F.2d 126 (2d Cir. 1974); United States v.

Green, 144 F.R.D. 631 (W.D.N.Y. 1992) (Heckman, Mag. J.).




                                                  6
        Case 1:10-cr-00184-WMS           Document 293         Filed 09/09/11       Page 7 of 16




         The instant case does not appear to be unusually complex. Balancing all of the above, the

Court concludes that disclosure of such impeachment material, if any exists, in accordance with

the common practice in this district (prior to trial so long as it is disclosed in sufficient time for

each defendant to have a fair opportunity to utilize the information at trial) is sufficient in this

case.

III.     Federal Rules of Evidence 404(b), 608, 609, 803(24) and 807 Materials

         A.     Rule 404(b)

         Defendants request disclosure of all evidence of prior bad acts that the Government

intends to use in its case-in-chief, pursuant to Federal Rule of Evidence 404(b). They also

request disclosure of all evidence of prior bad acts that the Government intends to use for

impeachment of the defendant should he testify at trial, pursuant to Rules 608(b) and 609(a).

         Rule 404 requires that the defendant be given “reasonable notice in advance of trial, or

during trial if the court excuses pretrial notice on good cause shown, of the general nature of any

such evidence it intends to use at trial.” The Government has represented that it will provide all

such material (including information under Rules 607 and 608) to defendants at the time of the

pretrial conference in this case (Docket No. 253, Gov’t Response at 31). This is sufficient in this

case.

         B.     Rules 803, 807

         Defendants seek disclosure of any hearsay evidence intended to be introduced by the

Government at trial. The Government states that it currently does not intend to introduce such

evidence, but, if it does, it will make necessary disclosures (id. at 17). There is no legal or factual




                                                   7
      Case 1:10-cr-00184-WMS             Document 293         Filed 09/09/11      Page 8 of 16




basis requiring disclosure of such material in this case, see Green, supra, 144 F.R.D. at 638.

Thus, this request is denied.

IV.     Preservation of Rough Notes and Evidence

        Defendants have also requested preservation of rough notes and other evidence taken by

law enforcement agents involved. The Government has agreed to preserve all items of evidence

(Docket No. 253, Gov’t Response at 42). This suffices.

V.      Bills of Particulars

        Defendants next move for Bills of Particulars and the Government responds objecting to

such particularization given the allegations in the Indictment and discovery furnished to date

(Docket No. 253, Gov’t Response at 33-41).

        Rule 7(f) of the Federal Rules of Criminal Procedure provides that the Court may direct

the filing of a Bill of Particulars. Technically, a Bill of Particulars is an amplification of the

pleadings and not discovery. Defendants reply to their motion that, pursuant to the Court’s

instruction regarding the order matters would be considered, addressed only discovery motions

first and not the motion for Bills of Particulars (Docket No. 259, Defs’ Reply at 22-23).

        Bills of Particulars are to be used only to protect a defendant from double jeopardy and to

enable adequate preparation of a defense and to avoid surprise at trial. United States v. Torres,

901 F.2d 205 (2d Cir. 1990); see United States v. Persico, 621 F. Supp. 842, 868 (S.D.N.Y.

1985) (citing Won Tai v. United States, 273 U.S. 77, 82 (1927)). The Government is not

obligated to “preview its case or expose its legal theory,” United States v. LaMorte, 744 F. Supp.

573 (S.D.N.Y. 1990); United States v. Leonelli, 428 F. Supp. 880 (S.D.N.Y. 1977); nor must it

disclose the precise “manner in which the crime charged is alleged to have been committed,”


                                                   8
        Case 1:10-cr-00184-WMS           Document 293        Filed 09/09/11      Page 9 of 16




United States v. Andrews, 381 F.2d 377 (2d Cir. 1967). Notwithstanding the above, there is a

special concern for particularization in conspiracy cases. United States v. Davidoff, 845 F.2d

1151 (2d Cir. 1988).

          Given production of electronically stored information called for in this case (see Docket

No. 291), the Court will defer decision on defense motions for Bills of Particulars.

VI.       List of Witnesses

          Next, defendants move for present disclosure of a list of Government witnesses. Rule 16

does not require the Government to disclose the names of witnesses prior to trial, United States

v. Bejasa, 904 F.2d 137, 139 (2d Cir.), cert. denied, 498 U.S. 921 (1990) (see Docket No. 253,

Gov’t Response at 16). Defendants’ request is denied at this time.

VII.      Expert Disclosure

          Pursuant to Rule 16(a)(1)(G), defendants seek a written summary of any expert testimony

that the Government intends to use in its direct case, along with the expert’s qualifications, and

the basis for the expert’s opinion, whether or not the expert files a report. The Government

intends to produce the credentials and methods of its experts (Docket No. 253, Gov’t Response at

32-33).

          The timing of this expert disclosure shall be set forth by the District Judge.

VIII.     Jencks Act

          Defendants seek disclosure of material subject to the Jencks Act not less than forty-eight

hours prior to trial, 18 U.S.C. § 3500. Ard further contends that Rule 26.2 supersedes the Jencks

Act (Docket No. 226, Ard Defs. Memo. at 22-23). One court, however, found that Rule 26.2 was

virtually identical to the Jencks Act and was designed to incorporate that act into the criminal


                                                   9
      Case 1:10-cr-00184-WMS           Document 293         Filed 09/09/11      Page 10 of 16




rules, United States v. Bobadilla-Lopez, 954 F.2d 519, 532 n.15 (9th Cir. 1992); see also Fed. R.

Crim. P. 16(a)(2) (cited at note 1, supra). Thus, Rule 26.2 does not supersede the Jencks Act.

       The Jencks Act governs the disclosure of information and statements relating to the

Government’s witnesses. Generally, according to the Jencks Act, the Government need not

disclose such information regarding its witnesses until after the witness has testified at trial. In

this case, the Government has agreed to disclose this information at the time set by the District

Judge (Docket No. 253, Gov’t Response at 29-30). Therefore, Jencks Act disclosure should

occur pursuant to the pretrial Order schedule; defendants have not established that prior

disclosure of Jencks material is essential to the preparation of a defense in this case.

IX.    Grand Jury Minutes

       Defendants next seek disclosure of Grand Jury transcripts. Beasley seeks these

transcripts to complete her motion to dismiss the Indictment for lack of probable cause as to her

(Docket No. 189, Beasley Atty. Affirm. at 16). Defendants also contest whether the same Grand

Jury rendered the Superseding Indictments (Docket No. 259, Defs’ Reply at 7). They also seek

the instructions given to the Grand Jury (id.). The Government concludes that defendants have

not successfully challenged the presumed regularity of Grand Jury proceedings here and have not

shown particularized need for production of the Grand Jury minutes (Docket No. 253, Gov’t

Response at 9-11).

       Under Federal Rule of Criminal Procedure 6(e)(3)(E)(ii), this Court may authorize the

disclosure of a Grand Jury matter at the request of the defense who shows that a ground may

exist to dismiss the Indictment because of a matter that occurred before the Grand Jury. The

Court may authorize this disclosure “at a time, in a manner, and subject to any other conditions


                                                  10
     Case 1:10-cr-00184-WMS            Document 293         Filed 09/09/11      Page 11 of 16




that it directs,” id. Defendants had to show that they have a particularized need for disclosure

that outweighs the Government’s interest in maintaining Grand Jury secrecy, United States v.

Alexander, 860 F.2d 508, 513 (2d Cir. 1988); see United States v. Twersky, No. S2 92 Cr. 1082,

1994 U.S. Dist. LEXIS 8744, at *14-16 (S.D.N.Y. June 29, 1994) (granting in camera review of

Grand Jury minutes and reserving decision on motion to dismiss Indictment). A defendant must

state a particularized need for these transcripts “in order to present a vigorous defense” which

outweighs the principle of Grand Jury secrecy, Pittsburgh Plate Glass Co. v. United States,

360 U.S. 395, 400 (1959). There are occasions “when the trial judge may in the exercise of his

discretion order the minutes of a grand jury witness produced for use on his cross-examination at

trial. Certainly ‘disclosure is wholly proper where the ends of justice require it,’” Pittsburgh

Plate Glass, supra, 360 U.S. at 400 (quoting United States v. Socony-Vacuum Oil Co., 310 U.S.

150, 234 (1940)). The burden is upon the defendant to show a particularized need exists that

outweighs the policy of Grand Jury secrecy, id. Particularized need includes impeachment of

witness at trial, refresh recollection, and testing witness credibility, United States v. Proctor &

Gamble Co., 356 U.S. 677, 683 (1958). “A review of grand jury minutes is rarely permitted

without specific factual allegations of government misconduct,” Torres, supra, 901 F.2d at 233,

and (even if disclosed) “as a general matter, a district court may not dismiss an indictment for

errors in grand jury proceedings unless such errors prejudiced the defendants,” Bank of Nova

Scotia v. United States, 487 U.S. 250, 254 (1988); Torres, supra, 901 F.2d at 233.

       As was held in the Pittsburgh Plate Glass case, supra, 360 U.S. at 400, defendants have

not made a showing of particularized need, but cf. Dennis v. United States, 384 U.S. 855, 872-73

(1966) (Court found that defense did not fail to make out a particularized need, listing the


                                                  11
     Case 1:10-cr-00184-WMS           Document 293         Filed 09/09/11      Page 12 of 16




circumstances of particularized need). Merely stating the desire to make a vigorous defense in

general, to assert the absence of probable cause (as Beasley does here, in effect to challenge the

sufficiency of evidence before the Grand Jury), see United States v. Nunez, No. 00 CR 121,

2001 U.S. Dist. LEXIS 883, at *29-31 (S.D.N.Y. Feb. 1, 2001), or the lack of particularization in

the Indictment or even that different Grand Jury panels rendered Superseding Indictments, cf.

United States v. Hill, S No. 88 Cr. 154, 1989 U.S. Dist. LEXIS 2791, at *2 (S.D.N.Y. Mar. 20,

1989) (superseding indictment rendered by second Grand Jury after reviewing minutes of first

Grand Jury), does not show a particular need for a given portion of the Grand Jury testimony

(such as specify which witness’s testimony is necessary for that vigorous defense) or show

whether that Grand Jury testimony is needed for impeachment, refreshing recollection or testing

credibility. Regarding the instructions given to the Grand Jury, even if it was improperly

instructed, that error is not a basis for the defense obtaining the Grand Jury minutes, Nunez,

supra, 2001 U.S. Dist. LEXIS 883, at *29-31 (Docket No. 253, Gov’t Response at 11), since

(absent a showing of prejudice to defendants due to the error) errors in Grand Jury proceedings

alone are not a basis for dismissal of an Indictment, Bank of Nova Scotia, supra, 487 U.S. at 254.

       The motion on this ground is denied.

X.     Identity of Informants

       Defendants next seek the pre-trial disclosure of the identity of any informants in this case.

The Government objects to identifying its confidential informants at this time (Docket No. 253,

Gov’t Response at 24-27). The Government is not required to furnish the identities of

informants unless it is essential to the defense. Roviaro v. United States, 353 U.S. 52, 60-61

(1957); United States v. Saa, 859 F.2d 1067, 1073 (2d Cir.), cert. denied, 489 U.S. 1089 (1988).


                                                12
       Case 1:10-cr-00184-WMS          Document 293        Filed 09/09/11       Page 13 of 16




Nor does Rule 16 require the Government to disclose the names of witnesses prior to trial,

Bejasa, supra, 904 F.2d at 139.

        Defendants have not established that the pre-trial disclosure of the identities of any

informants is essential to their respective defenses. This request is denied.

XI.     Search of Government Agents’ Files

        Torano Spencer and Walker each move to search agents’ personnel files (Docket

Nos. 117, 138). As to this request, the Government states that it will review personnel files

consistent with Justice Department policy and disclose materials in an appropriate situation or (if

necessary) submit these files to the Court for in camera review (Docket No. 253, Gov’t Response

at 17). The Government is directed to review these files to determine if Brady or Jencks

material is present and treat such responsive information, if any, as Brady or Jencks material (as

appropriate) and disclosed accordingly.

XII.    Statements of Co-Conspirators.

        Defendants have also requested production of all statements of any co-conspirator,

whether charged or uncharged. This request is denied. It is well established that the statements

of co-conspirators are not discoverable under Rule 16(a). In re United States, 834 F.2d 283, 286

(2d Cir. 1987); United States v. Percevault, 490 F.2d. 126 (2d Cir. 1974); Green supra,

144 F.R.D. at 638. The Jencks Act provides the exclusive procedure for discovering statements

that government witnesses have given to law enforcement agencies. United States v. Covello,

410 F.2d 536, 543 (2d. Cir.), cert. denied, 396 U.S. 879 (1969).




                                                 13
        Case 1:10-cr-00184-WMS          Document 293        Filed 09/09/11    Page 14 of 16




XIII.     Government’s Request for Reciprocal Discovery

          In its initial and supplemental responses, the Government sought reciprocal discovery

from defendant (Docket No. 253, Gov’t Response at 51). Defendants note in their reply that they

had not yet responded to the Government’s request for reciprocal discovery since they focused

their attention to (pursuant to this Court’s instruction) their own discovery motions (Docket

No. 259, Defs. Jt. Reply at 23).

          Under Rule 16, the Government is entitled to production of documents in a defendant’s

possession that the defendants intend to use in their respective cases-in-chief. Given that

defendants have yet to respond to this motion, they have thirty (30) days from the entry of this

Order to file their formal response to this reciprocal request.

XIV. Defendants’ Suppression Motions

          Some of the defendants moved to suppress pieces of evidence, or joined generally in

other defendants’ motions which included suppression motions. At a minimum, the motions to

suppress statements by Ainsworth (Docket No. 106) and Beasley (Docket No. 189) each require

a suppression hearing. This Court will defer rendering a Report & Recommendation on those

dispositive motions until those suppression hearings are held. These hearings were be scheduled

by separate Orders.

XV.       Beasley’s Motion to Dismiss Indictment

          Finally, Beasley moved to dismiss the Second Superseding Indictment3 (Docket No. 189)

on the lack of probable cause as to her. The Court presumes that Beasley renews this motion

under the Third Superseding Indictment (Docket No. 202), which did not change the allegations


   3
       Docket No. 142.

                                                 14
     Case 1:10-cr-00184-WMS           Document 293       Filed 09/09/11      Page 15 of 16




in Count 1 as to Beasley. The Government has not responded to this motion, responding instead

to the discovery motions then pending (cf. Docket Nos. 253, 190, 197; Docket No. 220

(Beasley’s discovery motion)).

         As with the Government’s motion for reciprocal discovery, the Government shall respond

to Beasley’s motion to dismiss the Indictment within thirty (30) days of entry of this Order.

                                        CONCLUSION

         For the reasons stated above, defendants’ motions (Docket Nos. 225 (Ard and other

defendants’ joint motion); Docket Nos. 217 (Cruz), 220 (Beasley), 223 (Dolly), 224 (Hawkins),

227 (Spencer), 230 (joinder motion of defendant Ainsworth), 232 (joinder motion of Beasley),

and 233 (joinder motion of defendant Barton)), as well as motions filed under previous iterations

of the Indictment (Docket Nos. 122 (Ard), 117 (Torano Spencer), 107 (Cruz), 106 (Ainsworth),

123 (White), 138 (Walker), 189 (Beasley)) is granted in part, denied in part as discussed

above.

         Defendants’ suppression motions (Docket Nos. 106, 117, 189, 223) will be considered

following suppression hearings on the motions of Ainsworth and Beasley, and other such

hearings that may be required.




                                               15
     Case 1:10-cr-00184-WMS          Document 293        Filed 09/09/11       Page 16 of 16




       Parties are to respond to outstanding motions (including the Government’s motion for

reciprocal discovery, Docket No. 253, Gov’t Response at 51, and Beasley’s motion to dismiss the

Indictment, Docket No. 189) within thirty (30) days of entry of this Order.

       So Ordered.

                                                              /s/ Hugh B. Scott
                                                           Honorable Hugh B. Scott
                                                           United States Magistrate Judge


Dated: Buffalo, New York
       September 9, 2011




                                               16
